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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   _______________________________
   SAFE STREETS ALLIANCE, et al.,           Civil Action: No. 15-349-REB-MLC
   Plaintiffs,
   v.
   ALTERNATIVE HOLISTIC
   HEALING, LLC, et al.,
   Defendants.
   ______________________________




                           DEFENDANTS’ PROPOSED VOIR DIRE
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     1. Do you have any feelings about marijuana that you feel would make you an

        unfair juror?

     2. Do you have any feelings about out of state law firms bringing lawsuits against

        Colorado companies that would make you have strong feelings in this case either

        way?

     3. Do you have any feelings about out of state law firms bringing lawsuits against

        Colorado citizens that would make you have strong feelings in this case either

        way?

     4. Does anyone think it should be obvious to anyone that marijuana smells bad?

     5. Does anyone think it’s obvious that a marijuana business automatically lowers

        property value of the surrounding properties?

     6. Did anyone grow up on a farm?

     7. Does anyone have a relative that works in the marijuana industry?

     8. Does anyone themselves work in the marijuana industry?

     9. Does anyone feel that crime has gone up since marijuana was legalized in

        Colorado?

     10. Has anyone seen the tax benefits of legalized marijuana?

     11. Has anyone ever been to Pueblo County, Colorado?

     12. Has anyone ever lived in Pueblo County, Colorado?

     13. Has anyone been to Rye, Colorado?

     14. Do you have any internal biases that you feel would make you an unfair juror, or

        that the court should know about?

     15. Is anyone familiar with the facts of the case from watching the news?
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     16. Does anyone here know any of the parties?

     17. Has anyone had a legal dispute with a neighbor before?

     18. If you have had a legal dispute with a neighbor, what was it about?

     19. Has anyone ever had a property dispute or argument with a neighbor before?

     20. Has anyone ever dealt with property appraisals when buying or selling a home?

     21. Does anyone use marijuana or ever tried marijuana?

     22. Has anyone ever lived in a rural area before?

     23. Does anyone have a family member that has been charged with crimes related to

        marijuana?

     24. Has anyone ever been involved in a lawsuit as a plaintiff or defendant?

     25. Do you believe the use of marijuana reflects negatively on the character on

        someone?

     26. Do you have any negative experiences, whether personal or through a family

        member of close friend with marijuana?

     27. Have you been unable to resolve a problem with a neighbor in the past? If so,

        what were the circumstances of that dispute?

     28. If you were purchasing a property, how likely would you to be to inquire into the

        activities of your neighbors prior to purchasing the property?

     29. This is a civil case which involves the violation of criminal laws. The court will

        instruct you that the violation of criminal laws is not sufficient to establish that the

        plaintiff has suffered damages. Do you understand and agree with that

        instruction?
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      30. Have you been unable to resolve a problem with a neighbor in the past? If so,

         what were the circumstances of that dispute?

      31. If someone is offered as an expert in a particular field such as property

         valuation/odor could you accept them as an expert, and their testimony as an

         expert in that particular field?

   DATED: October 22, 2018

                                                            RESPECTFULLY SUBMITTED,
                                                                     /S Matthew W. Buck
                                                                              RED LAW
                                                                 445 Broadway Suite 126
                                                                      Denver, CO, 80205
                                                                           720-771-4511
                                                                           matt@red.law

                                 CERTIFICATE OF SERVICE

         I, Matthew W Buck, hereby certify that on October 22, 2018, I hereby served a
   copy of the foregoing PROPOSED VOIR DIRE, via the court’s ECF filing system.

                                                                         /S Matthew W Buck
